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                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK


 E. JEAN CARROLL,

                                Plaintiff,
                                                           Case No. 1:20-cv-7311 (LAK)
                     v.

 DONALD J. TRUMP,
 in his personal capacity,

                                Defendant.


                     MEMORANDUM OF LAW IN OPPOSITION TO
                RAJ PATEL’S MOTION FOR PERMISSIVE INTERVENTION


       On October 27, 2020, Raj K. Patel (“Mr. Patel”) moved the Court, under Federal Rule of

Civil Procedure 24(b)(1)(B), to permissively intervene in this matter. (Dkt. 33). Federal Rule of

Civil Procedure 24(b) sets out the standard for permissive intervention: “On a timely motion, the

court may permit anyone to intervene who: (A) is given a conditional right to intervene by a federal

statute; or (B) has a claim or defense that shares with the main action a common question of law

or fact.” Fed. R. Civ. P. 24(b)(1). That standard is plainly not satisfied.

       Mr. Patel recently filed a similar motion for permissive intervention in another pending

matter in which we are counsel, Doe v. The Trump Corp., No. 1:18-cv-09936 (S.D.N.Y. May 22,

2020) (Dkt. 268). Judge Schofield denied that motion, finding that Mr. Patel’s allegations did not

“demonstrate a common question of law or fact sufficient to grant permissive intervention.” Id.

(Dkt. 272); see also Doe v. Trump Corp., No. 20-1706 (2d Cir. Oct. 9, 2020) (Dkt. 47) (denying

Mr. Patel’s appeal of the district court’s order). Mr. Patel’s motion should be denied for similar

reasons here.
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Dated: October 27, 2020                   Respectfully submitted,


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